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To Whom It May Concern,

I’m writing this letter in regards to Kelvin Barros. I’m his manager for his music & his
friend. | met keivin back in 2016 back when he first started music. He has come so far in not
only music within the 4 years I've known him, but with life.

When we first started this music stuff together we had no idea where it would take us, but
we knew we wanted to make a change. Kelvin has gone from nobody knowing him to selling out
shows even out of state. Besides the music growth , he’s a leader for the people in Boston & is
looked up to by so many people at a national level as well. He has improved so much since the
first | met him. Last year he heid his own toy drive and bought toys for the families in Boston.
This year early 2020 he went to another school in New Hampshire to speak to kids about
staying in school & doing the right things in life. He went from not only just making music but to
using it for positive instead of negative.

We were planning on doing at least 3 more events this year for the community as well as
donating masks to the local YMCAs & hospitals. Him being incarcerated takes away from the
youth having a positive role model doing good for the community. Kal spends most of his time
when he’s not working taking care of his little brother and mother. There’s hundreds of
thousands of people that would love to see him released, He has so many opportunities waiting
for him to change:his life. He streams over 4-5 million times a year, and was on JAMN 94.5 as
well. :

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Lastiy, we are close to signing a deal with roc - nation (a music label) . That deal was going to
have him out of Boston for good and to work on his craft & life in California. It is & can still
change his life for the better if he’s granted bail. This is how Kelvin has provided for his family &
friends. We haveiso much more left to do with his talent. He has grown so much in the last 4
years into where he has now to just let it all go to waste. He's been through a lot to get where
he's at now. | hope that you put this into consideration on releasing him on bail. Thank you for
your consideration.

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